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                      Exhibit A
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                                                  U.S. Department of Justice
                                                  Robert C. Troyer
                                                  United States Attorney
                                                  District of Colorado

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 August 21, 2018

 By email and First-class mail

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 Additional addressees starting on page 4

          RE:      Menocal, et al. v. The GEO Group, 14-cv-02887-JLK

 Dear Counsel:

        I write to clarify the government’s position regarding the need for, and scope of, U.S.
 Immigration and Customs Enforcement (ICE) review of documents before they are released in
 discovery in the subject case. So that the parties are informed in advance of further discovery
 proceedings, including the August 22, 2018 submission of an Amended Proposed Stipulated
 Scheduling Order, see ECF No. 135, this letter provides an overview of ICE’s potential need to
 review documents that may be the subject of discovery in this matter.

        As a general matter, ICE only needs to review records that are owned by ICE, or that
 contain ICE information. Records that are owned or created solely by contractors, such as The
 GEO Group (GEO), or records that solely contain contractor information, do not need to be



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 reviewed by ICE, except to the extent such records contain ICE information. ICE is willing to
 work with the parties to determine which categories of responsive records will need to be
 reviewed by ICE.

         As you may be aware, the Privacy Act, 5 U.S.C. § 552a, generally prohibits the
 disclosure of an agency record about an individual absent the written consent of the individual,
 unless a statutory exception applies. This disclosure restriction applies to both federal agencies
 and their contractors. Although 5 U.S.C. § 552a(b)(11) permits disclosure pursuant to a
 qualifying court order, it appears that the protective order currently in effect in this case, see ECF
 No. 45, does not authorize production pursuant to the Privacy Act. Before any disclosure subject
 to the Privacy Act may be made, the entry of an appropriate protective order is required. To the
 extent that an appropriate Protective Order is entered in this matter, it may also aid in limiting the
 voluminous redactions that would need to take place to protect against disclosure of personally
 identifiable information covered by the Privacy Act or the DHS Privacy Policy. Disclosures
 prohibited by the Privacy Act include any data that could potentially identify a specific
 individual, or any information that can be used to distinguish one person from another and can be
 used for deanonymizing anonymous data, including but not limited to detainee names and alien
 numbers.

          Additionally, it is my understanding that certain documents that Plaintiffs, Defendant, or
 both, have requested or intend to produce in this matter, or may request or may intend to produce
 in this matter, may contain information that is subject to the statutory and regulatory disclosure
 restrictions described below (“Covered Information”). As a result, prior to any production of
 Covered Information, review by ICE will be necessary to ensure compliance with such
 restrictions and with ICE policy.

        Absent an applicable exception, the following federal statutes and regulations prohibit
 disclosure of records that may be the subject of discovery in this case:

    •   8 U.S.C. § 1367(a)(2) prohibits agency disclosure of any information which relates to an
        alien who is the beneficiary of an application for relief, whether pending or approved,
        under the Violence Against Women Act;
    •   8 U.S.C. § 1367(a)(2) prohibits agency disclosure of any information which relates to an
        alien who is the beneficiary of an application for a T Visa, concerning trafficking victims;
    •   8 U.S.C. § 1367(a)(2) prohibits agency disclosure of any information which relates to an
        alien who is the beneficiary of an application for a U Visa,
        concerning victims of crimes;
    •   8 U.S.C. § 1255a(c)(5) prohibits disclosure of information relating to
        Legalization/Special Agricultural Worker claims; and
    •   8 C.F.R. § 208.6 prohibits disclosure of information contained in or pertaining to an
        asylum application (which ICE has also applied to refugee applications), information


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        pertaining to a credible fear determination pursuant to 8 C.F.R. § 208.30, and records
        pertaining to a reasonable fear determination pursuant to 8 C.F.R. § 208.31.

 The consequences for unauthorized disclosure of these categories of records include criminal and
 civil penalties. In addition, these categories of information cannot be disclosed, even with a
 protective order in place. Thus, in order to ensure compliance with these statutory and
 regulatory requirements, ICE must conduct a review of any Covered Information before it is
 produced in discovery so that the appropriate redactions and withholdings can be applied. 1 The
 time needed for ICE to complete any such review will depend on the volume and nature of the
 Covered Information at issue. For example, to protect against inadvertent disclosure of
 information pertaining to a credible-fear determination, a page-by-page review of certain records
 may be required. ICE is committed, however, to working with the parties to allow discovery to
 proceed on a reasonable timetable, and the agency intends, subject to resource constraints, to
 allocate resources to any necessary document review.

         In the event that either party anticipates producing documents that contain, or are likely
 to contain, Covered Information, please contact me at your earliest convenience so that ICE may
 make necessary arrangements for document review, as the redactions necessary to protect these
 categories of information will take a considerable amount of time.

        Thank you in advance for your cooperation in this matter. Should you have any
 questions or concerns regarding the above, please do not hesitate to contact me.


                                                      Sincerely,

                                                      s/ Timothy B. Jafek
                                                      Timothy B. Jafek
                                                      Assistant U.S. Attorney

 cc:    ICE counsel




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  In addition to the disclosure prohibitions noted above, legal privileges or law-enforcement
 sensitivities may also prevent the disclosure of certain information.

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